
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On February 6, 2008, claimant was traveling on the Teays Valley entrance ramp onto 1-64 in Putnam County, when her vehicle struck a hole in the road, damaging both passenger side tires and rims. After the incident, the vehicle’s sensor relay was damaged, and claimant contends that this damage was a direct result of her vehicle *122striking the hole.
2. Respondent was responsible for the maintenance of the T eays V alley entrance ramp onto 1-64 which it failed to maintain properly on the date of this incident.
3. As a result, claimant’s vehicle sustained damage in the amount of $2,374.69. Since claimant’s insurance deductible is $500.00, her recovery is limited to that amount.
4. Respondent agrees that the amount of $500.00 for the damages put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of the Teays Valley entrance ramp onto 1-64 on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s vehicle; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for her loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $500.00.
Award of $500.00.
